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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


REBEKAH JONES,

     Plaintiff,

v.                                            Case No.: 4:21-CV-54-AW-MAF

RICK SWEARINGEN, individually, and in
his official capacity as Commissioner of
The FLORIDA DEPARTMENT OF
LAW ENFORCEMENT; NOEL PRATTS,
individually; and FDLE AGENT JOHN DOE,
individually.

     Defendants.
____________________________________/

                   PLAINTIFF’S NOTICE OF DISMISSAL
                        WITHOUT PREJUDICE

     Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiff files her Notice of Dismissal of all claims asserted in this action without

prejudice and with each party to bear its own attorney’s fees and costs.

                                             Respectfully submitted,

                                             /s/ Richard E. Johnson
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       Case 4:21-cv-00054-AW-MAF Document 4 Filed 02/04/21 Page 2 of 2




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                                                  Attorneys for Plaintiff




                          CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of March, 2021, I electronically filed the

Plaintiff’s Notice of Dismissal using the CM/ECF system that will cause service by

electronic mail to all attorneys of record.

            This ____ day of February 2021.

                                                  /s/ Richard E. Johnson
                                                  Richard E. Johnson
                                                  Florida Bar No. 858323



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